                 Case
                  Case2:18-cv-02109-GMN-VCF
                       2:18-cv-02109-GMN-VCF Document
                                              Document1-2
                                                       3 Filed
                                                          Filed11/02/18
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                        District
                                                __________       ofofNevada
                                                           District   __________

                        Sam Gabrielle                            )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:18-cv-02109-GMN-VCF
                                                                 )
        Loft Associates, LLC dba Cheddar Express                 )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       LOFT ASSOCIATES, LLC
                                       425 BROAD HOLLOW RD. STE. 315
                                       MELVILLE, NEW YORK, 11747




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Michael Kind, Esq.                  David H. Krieger, Esq.
                                       Kazerouni Law Group, APC            HAINES & KRIEGER, LLC
                                       6069 S Fort Apache Rd, Ste 100      8985 S. Eastern Avenue, Suite 130
                                       Las Vegas, NV 89148                 Henderson, Nevada 89123



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT              11/2/2018

Date:
                                                                                      Signature of Clerk or Deputy Clerk
                  Case
                   Case2:18-cv-02109-GMN-VCF
                        2:18-cv-02109-GMN-VCF Document
                                               Document1-2
                                                        3 Filed
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 Civil Action No. 2:18-cv-02109-GMN-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any) Loft Associates, LLC dba Cheddar Express
 was received by me on (date)                                         .

               I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

               I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

               I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

               I returned the summons unexecuted because                                                                            ; or

               Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
